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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                    CASE NO. 17-61051-CIV-ALTONAGA/GOODMAN

   ABS-CBN CORPORATION, et al.,
               Plaintiffs,
   vs.

   ABSCBN-TELESERYE.COM, et al.,
               Defendants.
                                                /


     PLAINTIFFS’ MOTION FOR FINAL DEFAULT
      JUDGMENT AGAINST DEFENDANTS AND
       MEMORANDUM OF LAW IN SUPPORT
                   THEREOF




                                  Stephen M. Gaffigan, P.A.
                             401 East Las Olas Blvd., Suite 130-453
                                 Ft. Lauderdale, Florida 33301
                                  Telephone: (954) 767-4819
                                  Facsimile: (954) 767-4821
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         Plaintiffs, ABS-CBN Corporation, ABS-CBN Film Productions, Inc. d/b/a Star Cinema,
  and ABS-CBN International Corporation (hereinafter collectively, “Plaintiffs” or “ABS-CBN”),
  hereby move this Honorable Court for an entry of final default judgment against Defendants, the
  Individuals, Partnerships and Unincorporated Associations Identified on Schedule “A” hereto,
  (collectively “Defendants”)1 and in support thereof, submit the following Memorandum of Law.
  I.     INTRODUCTION
         ABS-CBN initiated this action against Defendants through the filing of its Complaint for
  federal trademark counterfeiting and infringement (Count I), false designation of origin (Count
  II), cybersquatting (Count III), common law unfair competition (Count IV), common law
  trademark infringement (Count V), direct infringement of copyright (Count VI), and secondary
  infringement of copyright (Count VII). Defendants are in default, and the prerequisites for a
  default judgment have been met. ABS-CBN seeks default judgment finding Defendants liable on
  all counts of ABS-CBN’s Complaint. ABS-CBN prays such judgment includes the entry of a
  permanent injunction and an award of statutory damages to Plaintiffs for Defendants’ willful
  counterfeiting pursuant to 15 U.S.C. § 1117(c),2 cybersquatting pursuant to 15 U.S.C. § 1117(d),
  and Defendants’ willful copyright infringement pursuant to 15 U.S.C. § 504(c).3 ABS-CBN also

  1
    Plaintiffs have not included Defendant Number 7 (ebenta.info) in their request for relief as the
  parties have settled and a Consent Final Judgment has been entered, ECF No. [22]. This Motion
  refers to the remaining Defendants identified on Schedule “A” hereto (Declaration of Christine
  Ann Daley in Support of Plaintiffs’ Motion for Final Default Judgment Against Defendants
  (“Daley Decl.”), ¶ 1 n. 1, filed herewith.)
  2
    Plaintiffs are moving for entry of Final Default Judgment against all Defendants and for
  statutory damages pursuant to 15 U.S.C. § 1117(c) to be awarded against all Defendants, jointly
  and severally. Each Defendant has actively engaged and participated in a concurrent, joint effort
  to infringe ABS-CBN’s trademarks and liability has been established as to all Defendants as each
  Defendant has defaulted upon Plaintiffs’ allegations. (See ECF No. [36].) Although Plaintiffs
  maintain Defendants are joint tortfeasors (see Compl. ¶¶ 58-59), because all Defendants have
  already defaulted and liability is established, Plaintiffs respectfully submit the entry of Final
  Default Judgment against all Defendants is appropriate, and that there would be no possibility of
  inconsistent liability. (See Notice of Joint Liability, ECF No. [38]).
  3
    ABS-CBN is not requesting the Court award damages against all Defendants pursuant to 15
  U.S.C. § 504(c) or 15 U.S.C. § 1117(d), and is not requesting the Court award these damages
  jointly and severally, therefore, there is no possibility of inconsistent liability. While all
  Defendants infringed ABS-CBN’s copyrights, only Defendant Number 3, cinepinoy.lol,
  Defendant Number 4, cinezen.me, and Defendant Number 14, pinastvreplay.com, infringed
  registered copyrights. As no Defendant responded to the Complaint and ABS-CBN was unable
  to participate in discovery, it cannot demonstrate Defendants’ actual revenue. Thus, ABS-CBN
  limits its request as to Defendant Numbers 2, 5-13, and 15-27 to the monetary judgment
  requested in Count I, to judgment on the claims, and the equitable relief requested in the
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  requests the Court cancel, or at ABS-CBN’s election, transfer the domain names identified on
  Schedule “A” attached hereto (the “Subject Domain Names”) to ABS-CBN to ensure the
  associated websites may no longer be used as a means for illegally distributing ABS-CBN’s
  copyrighted works using infringements of ABS-CBN’s trademarks.
  II.    STATEMENT OF FACTS
            A. ABS-CBN’s Rights.
         ABS-CBN International is a California Corporation with its principal place of business
  located at 2001 Junipero Serra Boulevard, Suite 200, Daly City, California, 94014. ABS-CBN
  International is a subsidiary of ABS-CBN Corporation. (Declaration of Elisha J. Lawrence in
  Support of Plaintiffs’ Application for Entry of TRO [“Lawrence Decl.”] ¶ 2, ECF No. [6-1].)4 ABS-
  CBN Corporation also owns ABS-CBN Film Productions, Inc. ABS-CBN Corporation and ABS-
  CBN Film Productions, Inc. are companies organized under the laws of the Republic of the
  Philippines (“the Philippines”) with principal places of business in Quezon City, Philippines. (Id.)
  ABS-CBN Film Productions, Inc. is the owner of the registered copyrights in and to the movies
  identified in Exhibit 2, ECF No. [1-3], to the Compl. (Lawrence Decl. ¶ 4.) ABS-CBN Corporation
  is the owner of the unregistered copyrights in and to the movies and the TV shows identified in
  Exhibit 4, ECF No. [1-5], and paragraph 25 of the Compl. (Id.) Together, these works are referred
  to herein collectively as the “Copyrighted Works.” ABS-CBN Corporation, ABS-CBN
  International, and ABS-CBN Film Productions, Inc. all share exclusive rights in and to the ABS-
  CBN Copyrighted Works. (Id.) All of ABS-CBN’s Copyrighted Works are produced and initially
  aired through its broadcast facilities in the Philippines. (Lawrence Decl. ¶ 8; Compl. ¶ 29.) ABS-
  CBN is the largest media and entertainment company in the Philippines. (Lawrence Decl. ¶ 4.) ABS-
  CBN promotes and distributes such content on the Internet. (Compl. ¶¶ 1, 30; Lawrence Decl. ¶ 4.)
         Plaintiff ABS-CBN International is the owner of all rights in and to the federally
  registered trademarks identified in Paragraph 5 of the Lawrence Declaration (the “ABS-CBN
  Registered Marks”) as well as the common law trademark identified in Paragraph 6 (the

  Complaint. Additionally, only Defendant Number 1, abscbn-teleserye.com, registered a
  cybersquatting domain name in violation of 15 U.S.C. § 1125(d), and thus ABS-CBN limits its
  request as to Defendant Number 1 to the monetary judgment requested in Count I and II, to
  judgment on the claims, and the equitable relief requested in the Complaint.
  4
    On May 30, 2017, Plaintiff filed its Application for Entry of Temporary Restraining Order,
  Preliminary Injunction, and Order Restraining Transfer of Assets (the “App. for TRO”), together
  with supporting exhibits and declarations, incorporated herein by reference, ECF No. [6].


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  “Common Law Mark”) (collectively, the “ABS-CBN Marks”), which are used in connection
  with high quality distribution services of television programs and movies in the categories
  identified therein. (See Lawrence Decl. ¶¶ 5-6; see also U.S. Trademark Registrations of the
  ABS-CBN Registered Marks at issue, Ex. 1 to the Compl., ECF No [1-2].) ABS-CBN
  Corporation and ABS-CBN Film Productions, Inc. share exclusive rights in and to the ABS-
  CBN Marks with ABS-CBN International. (Lawrence Decl. ¶ 6.) Moreover, ABS-CBN
  Corporation and ABS-CBN Film Productions, Inc. are licensed to use and enforce the ABS-CBN
  Marks. (Id.) The ABS-CBN Marks are symbols of ABS-CBN’s quality, reputation, and goodwill
  and have never been abandoned. (Lawrence Decl. ¶ 9.) Furthermore, ABS-CBN has extensively
  used, advertised, and promoted the ABS-CBN Marks in the United States in association with its
  services, and has carefully monitored and policed the use of the ABS-CBN Marks. (Id. at ¶ 6-9.)
  As a result of ABS-CBN’s efforts, members of the consuming public readily identify services
  and audiovisual content bearing the ABS-CBN Marks as quality services and content sponsored
  and approved by ABS-CBN. (Id.) Accordingly, the ABS-CBN Marks have achieved secondary
  meaning as identifiers of high quality distribution services and audiovisual content.
            B. Defendants’ Infringing Acts.
         As alleged by ABS-CBN, admitted by default, and established by the evidence submitted
  herewith, Defendants operated and controlled the Internet websites operating under the Subject
  Domain Names,5 and accompanying social media profiles. (See Exs. 3, 4, and 5 to the Compl.,
  ECF Nos. [1-4], [1-5], and [1-6]; Daley Decl. re. App. for TRO, Ex. 1, ECF No. [6-3];
  Declaration of Christine Daley in Support of Plaintiffs' Supplemental Brief to Add Domains to
  Plaintiffs' Application for Preliminary Injunction [“Daley Decl. re. Supp. Brief”], Ex. 2, ECF No
  [16-4].)6 As such, Defendants are the active, conscious, and dominant force infringing the ABS-
  CBN Marks and facilitating access to pirate copies of ABS-CBN’s Copyrighted Works.
  Defendants provided links on their respective websites to instant streams which performed ABS-


  5
    Several of the Defendants use one of their respective Subject Domain Names to act as
  supporting domain name to direct traffic to other websites operating under another Subject
  Domain Name, from which users may view the Copyrighted Works. Accordingly, the web pages
  for the redirecting Subject Domain Name are included with the web pages to which that site
  redirects. (See Exhibits 3 and 4 to the Compl.; Lawrence Decl. ¶ 13 n.1.)
  6
    On June 19, 2017, Plaintiff filed its Supplemental Brief to Add Domains to Plaintiffs'
  Application for Preliminary Injunction (the “Supp. Brief”), together with supporting exhibits and
  declarations, which are incorporated herein by reference, ECF No. [16].


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  CBN’s Copyrighted Works. (See Exs. 3 and 4 to the Compl.; Daley Decl. re. TRO, Ex. 1; Daley
  Decl. re. Supp. Brief, Ex. 2.) When a user clicks on a link to one of ABS-CBN’s copyrighted TV
  shows or movies, Defendants’ websites streamed and performed the full-length version. (See
  Daley Decl. re. App. for TRO ¶ 2, ECF No. [5-2], and Ex. 1 thereto; Daley Decl. re. Supp. Brief ¶
  6 and Ex. 2 thereto; see also Exs. 3 and 4 to the Compl.) This included, but was not limited to, the
  ABS-CBN Copyrighted Works identified in Ex. 2 to the Compl. and paragraph 25 thereto.
         As admitted by Defendants through default, at all times relevant, Defendants have had full
  knowledge of ABS-CBN’s ownership of the ABS-CBN Marks and Copyrighted Works, including
  its exclusive rights to use and license such intellectual property and associated goodwill. (Compl. ¶
  48, 65, 84, 98, 109, 127, 137.) Defendants do not have or ever had the right or authority to use the
  ABS-CBN Marks for any purpose. (See Lawrence Decl. ¶ 12; Declaration of Elisha J. Lawrence in
  Support of Supp. Brief [“Lawrence Decl. re. Supp. Brief”] ¶¶ 5-6, ECF No. [16-1]) Despite their
  known lack of authority to do so, Defendants engaged in the activity of promoting and otherwise
  advertising, offering for distribution, and distributing ABS-CBN’s Copyrighted Works under the
  ABS-CBN Marks on the Internet websites operating under the Subject Domain Names. (Compl. ¶¶
  1, 3-5, 36-45, 46-73, 78-79, 86-89, 94-95, 99-101, 104-108, 109, 116-123, 127; see also Lawrence
  Decl., ¶¶ 12-15; Lawrence Decl. re. Supp. Brief. ¶¶ 5-6; Exs. 3 and 4 to the Compl.; Daley Decl.
  re. App. for TRO, Ex. 1; ECF No. [6-3]; Daley Decl. re. Supp. Brief, Ex. 2, ECF No [16-4]).
         Defendants streamed the Copyrighted Works which were performed through a
  viewer/player window within their respective websites. (Daley Decl. re. App. for TRO ¶ 2; Daley
  Decl. re. Supp. Brief ¶ 6.) The Copyrighted Works were not uploaded by the websites’ users
  because the websites appeared to be closed and did not permit users to alter the content. (Id.)
  Further, Defendants profited from the advertising revenue derived by driving users to their
  websites in order to access and view the pirated copies of ABS-CBN’s Copyrighted Works.
  (Daley Decl. re. App. for TRO ¶¶ 4-5; Daley Decl. re. Supp. Brief ¶ 8; Lawrence Decl. ¶ 16.) The
  large inventory of popular entertainment content available on Defendants’ websites, including
  full-length copies of ABS-CBN’s Copyrighted Works, were designed to attract users to the
  infringing content and, thus, increase Defendants’ profits from the advertisers who paid
  Defendants based on the number of views that the advertising received. (Daley Decl. re. App. for
  TRO ¶¶ 4-5; Daley Decl. re. Supp. Brief ¶ 8; Lawrence Decl. ¶ 16.) The infringement-driven
  traffic increased the volume of online advertising impressions and transactions, and thereby


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  increased revenues from the advertising services used, and enabled Defendants to charge
  advertisers higher rates. (Daley Decl. re. App. for TRO ¶¶ 4-5.) As part of ABS-CBN’s ongoing
  investigation regarding the infringement of its intellectual property, ABS-CBN’s counsel
  investigated the advertising accounts used by Defendants. (See Daley Decl. re. App. for TRO ¶
  5.) By inspecting the Hyper Text Markup Language (“html”) Source Code for the Internet
  websites operating under the Subject Domain Names, ABS-CBN’s counsel specifically located
  and identified many of the advertising revenue accounts of the Defendants as identified on
  Schedule “B” hereto. (Id. and Comp. Ex. 3 thereto, ECF No. [6-5].) Defendants used these
  accounts to generate income on their websites operating under the Subject Domain Names. (Id.)
         ABS-CBN’s representative, Elisha J. Lawrence, confirmed Defendants are not and were
  never entitled to use the ABS-CBN Marks, broadcast or otherwise distribute and/or perform the
  ABS-CBN Copyrighted Works offered for distribution under those Marks. (See Lawrence Decl. ¶¶
  12-15; Lawrence Decl. re. Supp. Brief. ¶¶ 5-6.)
            C. Procedural Background.
         On May 26, 2017, ABS-CBN filed its Complaint against Defendants, ECF No. [1]. On
  May 30, 2017, ABS-CBN filed its App. for TRO, ECF No. [6]. On June 19, 2017, Plaintiff filed
  its Supp. Brief, ECF No. [16]. On June 2, 2017, this Court granted Plaintiffs’ App. for TRO, ECF
  No. [9], entered on docket June 5, 2017, and subsequently converted the TRO into a preliminary
  injunction on June 22, 2017, ECF No. [20]. The TRO and Preliminary Injunction required, inter
  alia, certain advertising services, networks, and/or platforms (the “advertising services”) associated
  with Defendants to identify and restrain all funds and to divert to a holding account for the trust of
  the Court all funds currently in, or which during the pendency of the Order come in to, Defendants’
  associated payment accounts, including all accounts tied to, associated with, or that transmit funds
  into Defendants’ respective payment accounts, and divert those funds to a holding account for the
  trust of the Court. (See Daley Decl. ¶ 4.) Subsequently, ABS-CBN’s counsel received notice from
  certain advertising services that they complied with the requirements of the Court’s Order. (Id.)
         On August 9, 2017 ABS-CBN filed its Motion for Order Authorizing Alternate Service
  of Process, ECF No. [23],7 which the Court granted on August 10, 2017, ECF No. [23]. Pursuant
  to the Court’s Order Granting Motion for Alternate Service, ABS-CBN served each Defendant

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    Plaintiffs’ Motion for Alternate Service, and the supporting declarations and exhibits attached
  thereto, ECF No. [23], are incorporated herein by reference.


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  with a copy of its respective Summons and the Complaint via electronic mail and publication
  service on August 17, 2017. See ECF Nos. [32], [33], [34], Proofs of Service on file with the Court.
         The time for Defendants to respond to the Complaint has expired. (Daley Decl. ¶ 7.)
  Defendants have not been granted any extension of time, nor have they served or filed any
  response. (Id. at ¶ 8.) To ABS-CBN’s knowledge, Defendants are not infants or incompetent
  persons and the Servicemembers Civil Relief Act does not apply. (See id. at ¶¶ 9-10.) On
  September 21 2017, ABS-CBN filed its request for Clerk’s Entry of Default against Defendants,
  ECF No. [35]. (Daley Decl. ¶ 11.) The Clerk entered default against each Defendant on September
  22, 2017, ECF No. [36]. (Id.) ABS-CBN moves the Court to grant Final Default Judgment against
  Defendants in compliance with the Court’s December 15, 2017 Order, ECF No. [37].
  III.   ARGUMENT
            A. Default Judgment Should Be Entered Against Defendants.
         This Court has subject matter jurisdiction over this action pursuant to 17 U.S.C. §§ 101 et
  seq., 15 U.S.C. § § 1114 and 1125(a), and 28 U.S.C. §§ 1331, 1338(a) & (b). (Compl. ¶¶ 6-10.)
  Personal jurisdiction over Defendants and venue in this Judicial District are proper under 28 U.S.C.
  § 1391 as Defendants directed business activities toward consumers within this District and caused
  harm to ABS-CBN’s business through the fully accessible Internet websites operating under the
  Subject Domain Names and because Defendants are non-resident aliens. (Id. at ¶¶ 9, 10.)
                 1.      Default Judgment is Proper.
         Pursuant to Federal Rule of Civil Procedure 55(b)(2), the Court is authorized to enter a
  final judgment of default against a party who has failed to plead in response to a complaint. By
  such a default, all of ABS-CBN’s well-plead allegations in the Complaint are deemed admitted.
  See Petmed Express, Inc. v. Medpets.com, 336 F. Supp. 2d 1213, 1217 (S.D. Fla. 2004) (citing
  Buchanan v. Bowman, 820 F.2d 359 (11th Cir. 1987)). Accordingly, the well-pled factual
  allegations of ABS-CBN’s Complaint will be taken as true. (See id.) In this case, the Complaint,
  pleadings, and the declarations filed in support of ABS-CBN’s Motion of Entry of Final Default
  Judgment clearly demonstrate that default judgment pursuant to Rule 55 of the Federal Rules of
  Civil Procedure should be entered against Defendants.
                 2.      Factual Allegations Establish Defendant’s Liability.
         Title 15 U.S.C. § 1114 provides liability for trademark infringement if, without the
  consent of the registrant, a defendant uses “in commerce any reproduction, counterfeit, copy, or


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  colorable imitation of a registered mark: which is likely to cause confusion, or to cause mistake,
  or to deceive.” In order to prevail on its trademark infringement claim under Section 32 of the
  Lanham Act, ABS-CBN must demonstrate: (1) it had prior rights to the trademarks at issue; and
  (2) Defendants have adopted a mark or name that was the same, or confusingly similar to ABS-
  CBN’s trademarks, such that consumers were likely to confuse the two. Planetary Motion, Inc. v.
  Techsplosion, Inc., 261 F.3d 1188, 1193 (11th Cir. 2001) (citing Lone Star Steakhouse &
  Saloon, Inc. v. Longhorn Steaks, Inc., 106 F.3d 355, 360 (11th Cir. 1997)).8
         To prevail on a false designation of origin claim under Section 43(a) of the Lanham Act,
  ABS-CBN must prove that Defendants used in commerce, in connection with any goods or
  services, any word, term, name, symbol or device, or any combination thereof, or any false
  designation of origin, which is likely to deceive as to the affiliation, connection, or association of
  Defendants with ABS-CBN, or as to the origin, sponsorship, or approval, of Defendants’
  services by ABS-CBN. 15 U.S.C. § 1125(a)(1). As with trademark infringement claims, the test
  for liability for false designation of origin under Section 43(a) is also “whether the public is
  likely to be deceived or confused by the similarity of the marks at issue.” Two Pesos, Inc. v.
  Taco Cabana, Inc., 505 U.S. 763, 780, 112 S.Ct. 2753, 2763 (1992).
         ABS-CBN’s Complaint also sets forth a cause of action for cybersquatting pursuant to
  the Anticybersquatting Consumer Protection Act (“ACPA”) 15 U.S.C. § 1125(d). To prevail
  under 15 U.S.C. § 1125(d), ABS-CBN must demonstrate that “(1) its mark is distinctive or
  famous and entitled to protection; (2) the defendant’s domain name is identical or confusingly
  similar to the plaintiff’s mark; and (3) the defendant registered or used the domain name with a
  bad faith intent to profit.” Bavaro Palace, S.A. v. Vacation Tours, Inc., 203 Fed. Appx. 252, 256,
  2006 WL 2847233, at *3 (11th Cir. 2006). See 15 U.S.C. § 1125(d).
         Whether a defendant’s use of the plaintiff’s trademarks created a likelihood of confusion
  between a plaintiff’s and defendant’s services is also the determining factor in the analysis of
  unfair competition under the common law of Florida. Rolex Watch U.S.A., Inc. v. Forrester, No.
  83–8381–Civ-Paine, 1986 WL 15668, at *3 (S.D. Fla. Dec. 9, 1987) (“The appropriate test for
  determining whether there is a likelihood of confusion, and thus trademark infringement, false


  8
   The analysis of liability for Florida common law trademark infringement is the same as the
  analysis of liability for trademark infringement under § 32(a) of the Lanham Act, as discussed
  supra. PetMed Express, Inc., 336 F. Supp. 2d at 1217-18.


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  designation of origin, and unfair competition under the common law of Florida, is set forth in
  John H. Harland, Inc. v. Clarke Checks, Inc., 711 F.2d 966, 972 (11th Cir. 1983).”)
         ABS-CBN’s Complaint also sets forth a cause of action for direct infringement of
  copyright pursuant to the Copyright Act, 17 U.S.C. §§ 106(1), (3) and (4). ABS-CBN must
  “satisfy two requirements to present a prima facie case of direct copyright infringement: (1) they
  must show ownership of the allegedly infringed material, and (2) they must demonstrate that the
  alleged infringers violated at least one exclusive right granted to copyright holders under 17
  U.S.C. § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001). See
  also Disney Enters. v. Hotfile Corp., Case No. 11-20427-CIV-Williams, 2013 U.S. Dist. LEXIS
  172339, at *94 (S.D. Fla. 2013).
         Finally, to prevail on a claim of contributory infringement of copyright, a plaintiff must
  establish: (1) direct infringement; (2) that defendant had knowledge of the direct infringement;
  and (3) that defendant intentionally induced, encouraged or materially contributed to the direct
  infringement. See Tiffany (NJ), LLC v. Liu Dongping, 2010 U.S. Dist. LEXIS 121232, 14-17
  (S.D. Fla. Oct. 29, 2010) (citing MGM Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930, 125 S.
  Ct. 2764, 162 L. Ed. 2d 781 (2005)).
         The well-pled factual allegations of ABS-CBN’s Complaint, including specifically those pled
  in Paragraphs 3-5, 36-45, 46-73, 78-79, 86-89, 94-95, 99-101, 104-108, 116-123, ECF No. [1],
  properly allege the elements for each of the above claims. Moreover, the factual allegations in ABS-
  CBN’s Complaint, substantiated by evidence submitted herewith, conclusively establish each
  Defendant’s liability under each claim asserted in the Complaint. Accordingly, Default Judgment
  pursuant to Rule 55 of the Federal Rules of Civil Procedure should be entered against Defendants.
            B. Plaintiffs’ Requested Relief Should be Granted.
                 1.      Entry of Permanent Injunction is Appropriate.
         Pursuant to the Lanham Act, a district court is authorized to issue an injunction
  “according to the principles of equity and upon such terms as the court may deem reasonable,” to
  prevent violations of trademark law. 15 U.S.C. § 1116(a). “[I]njunctive relief is the remedy of
  choice for trademark and unfair competition cases, since there is no adequate remedy at law for
  the injury caused by a defendant's continuing infringement.” Burger King Corp. v. Agad, 911 F.
  Supp. 1499, 1509-10 (S.D. Fla. 1995) (citing Century 21 Real Estate Corp. v. Sandlin, 846 F.2d
  1175, 1180 (9th Cir. 1988)). Even in a default judgment setting, injunctive relief is available.



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   See, e.g., Petmed Express, Inc. v. Medpets.com, 336 F. Supp. 2d 1213, 1222-23 (S.D. Fla. 2004).
   Defendants’ failure to respond or otherwise appear in this action makes it difficult for ABS-CBN
   to prevent further infringement absent an injunction. See Jackson v. Sturkie, 255 F. Supp. 2d
   1096, 1103 (N.D. Cal. 2003) (“[D]efendant’s lack of participation in this litigation has given the
   court no assurance that defendant's infringing activity will cease. Therefore, plaintiff is entitled
   to permanent injunctive relief.”) Pursuant to 15 U.S.C. § 1116, this Court should permanently
   enjoin Defendants from continuing to infringe any of ABS-CBN’s intellectual property rights.
          Permanent injunctive relief is appropriate where ABS-CBN demonstrates (1) it has
   suffered irreparable injury; (2) there is no adequate remedy at law; (3) the balance of hardships
   favors an equitable remedy; and (4) an issuance of an injunction is in the public’s interest. eBay
   Inc., v. MercExchange, LLC, 547 U.S. 388, 392-93, 126 S. Ct. 1837, 164 L. Ed. 2d 641 (2006).
   As demonstrated herein, ABS-CBN has clearly carried its burden on each of the four factors,
   warranting permanent injunctive relief, because Defendants have unlawfully used ABS-CBN’s
   goodwill to make a profit. Accordingly, a permanent injunction against Defendants’
   counterfeiting and infringing activities is appropriate and necessary.
          Defendants’ actions merit permanent injunctive relief, not only to protect ABS-CBN’s
   reputation, but also to protect consumers from being deceived as to the quality and source of
   services offered and advertised under ABS-CBN’s trademarks. The facts alleged in ABS-CBN’s
   Complaint, substantiated by the evidence submitted herewith, show Defendants infringed and
   induced others to infringe the ABS-CBN Marks by using them to advertise and promote illegal
   distribution services of ABS-CBN’s Copyrighted Works.
          ABS-CBN will continue to suffer irreparable injury if Defendants’ infringing activities
   are not permanently enjoined. (Lawrence Decl. ¶¶ 17-24.) In trademark cases, “a sufficiently
   strong showing of likelihood of confusion ... may by itself constitute a showing of a substantial
   threat of irreparable harm.” McDonald's Corp. v. Robertson, 147 F.3d 1301, 1306 (11th
   Cir.1998). See also Levi Strauss & Co. v. Sunrise Int'l Trading Inc., 51 F.3d 982, 986 (11th
   Cir.1995) (“There is no doubt that the continued sale of thousands of pairs of counterfeit jeans
   would damage LS & Co.’s business reputation and might decrease its legitimate sales.”)
   Furthermore, “harm might be irremediable, or irreparable, for many reasons, including that a loss
   is difficult to replace or difficult to measure, or that it is a loss that one should not be expected to
   suffer. In the context of copyright infringement cases, the harm to the plaintiff's property interest


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   has often been characterized as irreparable in light of possible market confusion.” See Salinger v.
   Colting, 607 F.3d 68, 77 and n.6, 77-83 (2nd Cir. 2010); Merkos L’Inyonei Chinuch, Inc. v.
   Otsar Sifrei Lubavitch, Inc., 312 F.3d 94, 96-97 (2d Cir. 2002); see WPIX, Inc. v. ivi, Inc., 765
   F. Supp. 2d 594, 617-621 (S.D.N.Y. 2011) (granting injunction based on streaming over Internet
   of copyrighted TV programming). In any event, ABS-CBN’s Complaint alleges Defendants’
   unlawful actions have caused ABS-CBN irreparable injury, and will continue to do so if
   Defendants are not permanently enjoined. (Compl. ¶¶ 75, 82, 84, 90, 92, 91, 102, and 111.)
   Defendants have defaulted upon ABS-CBN’s factual allegations in that respect.
          It can hardly be said Defendants face hardship in refraining from willful infringement of
   ABS-CBN’s trademarks and copyrights, whereas ABS-CBN faces hardship from loss of sales
   and inability to control its reputation. Defendants have no cognizable hardship, as they will be
   prohibited from promoting and offering distribution services of ABS-CBN’s Copyrighted Works
   under ABS-CBN’s Marks and use of the Marks, which are illegal acts to begin with. ABS-CBN
   has suffered irreparable harm while “[i]t is axiomatic that an infringer of copyright cannot
   complain about the loss of ability to offer its infringing product.” WPIX, 765 F. Supp. 2d at 603;
   see, e.g., EyePartner, Inc. v. Kor Media Group LLC, 2013 U.S. Dist. LEXIS 98370, at *16 (and
   cases cited therein). Finally, the public has an interest in the issuance of a permanent injunction
   against Defendants in order to prevent consumers from being misled by Defendants’ services. See
   Nike, Inc. v. Leslie, 227 U.S.P.Q. 574, 575 (1985) (“[A]n injunction to enjoin infringing behavior
   serves the public interest in protecting consumers from such behavior.”). The public interest is
   protected by issuing an injunction because ABS-CBN loses valuable incentives to continue to
   create programming if it continues to be deprived of (1) control over its Copyrighted Works, (2)
   how and where the Copyrighted Works get distributed, including Internet retransmissions through
   negotiated licenses and their portals, and (3) potential revenue sources. Protecting ABS-CBN’s
   rights is consistent with, if not equivalent to, promoting the public interest. See Salinger, 607 F.3d
   at 82; WPIX, 765 F. Supp. 2d at 621; CBS Broad., Inc. v. EchoStar Communs. Corp., 265 F.3d
   1193, 1198 (11th Cir. 2001) (“the public interest lies with protecting the rights of copyright
   owners.”); C.B. Fleet Co. v. Unico Holdings, Inc., 510 F. Supp. 2d 1078, 1084 (S.D. Fla. 2007)
   (“The public interest can only be served by upholding copyright protection and preventing the
   misappropriation of protected works.”). The permanent injunction will prevent consumer
   confusion and deception in the marketplace, and will protect ABS-CBN’s property interest in its


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   Marks and Copyrighted Works, which are the touchstones of trademark and copyright law.
          Furthermore, as admitted by Defendants through default, (i) the Subject Domain Names are
   essential components of Defendants’ counterfeiting and infringing activities; and (ii) the domain
   names are the means by which Defendants further their counterfeiting and infringing schemes and
   cause harm to ABS-CBN. (Compl. ¶ 45.) In order to effectuate the injunction as a practical matter,
   the Subject Domain Names should be ordered transferred to ABS-CBN’s control by Defendants,
   their Registrars, and/or Registries. Without transfer of the Subject Domain Names, Defendants will
   be free to continue infringing ABS-CBN’s intellectual property with impunity and continue to
   benefit from Internet traffic built through the unlawful use of the ABS-CBN’s intellectual property.
          The Court’s powers of equity are sufficiently broad to compel measures necessary to
   enforce an injunction against infringement. See, e.g., Swann v. Charlotte-Mecklenburg Bd. of
   Educ., 402 U.S. 1, 15 , 91 S. Ct. 1267, 1276 (1971) (“Once a right and a violation have been
   shown, the scope of a district court’s equitable powers to remedy past wrongs is broad, for. . . the
   essence of equity jurisdiction has been the power of the Chancellor to do equity and to mould each
   decree to the necessities of the particular case.”); United States v. Bausch & Lomb Optical Co.,
   321 U.S. 707, 724 (1944) (“Equity has power to eradicate the evils of a condemned scheme by
   prohibition of the use of admittedly valid parts of an invalid whole.”). District courts are expressly
   authorized to order the transfer or surrender of domain names in an in rem action against a domain
   name. See 15 U.S.C. §§ 1125(d)(1)(C), (d)(2). However, the remedy is by no means limited to that
   context. See, e.g., Philip Morris USA v. Otamedia Ltd., 331 F. Supp. 2d 228, 230-31 (S.D.N.Y.
   2004) (Yesmoke.com domain name transferred to plaintiff despite the fact that plaintiff did not
   own a trademark in the term “Yesmoke” and noting that 15 U.S.C. § 1125 “neither states nor
   implies that an in rem action against the domain name constitutes the exclusive remedy for a
   plaintiff aggrieved by trademark violations in cyberspace.”); Ford Motor Co. v. Cross, 441 F.
   Supp. 2d 837, 853 (E.D. Mich. 2006) (defendants ordered to disclose all other domain registrations
   held by them and to transfer registration of a particular domain name to plaintiff in part under
   authority of 15 U.S.C. § 1116(a)). This Court and others have not hesitated to order the transfer of
   domain names when faced with factual scenarios similar to the one herein.9

   9
     See e.g., Chanel, Inc. v. 4sreplicachanel.com, Case No. 17-cv-61838-CMA (S.D. Fla. Nov. 9,
   2017) (awarding transfer of domain name at issue as part of grants of permanent injunction);
   Tiffany (NJ) LLC v. tiffanyloveyou.com, Case No. 17-cv-60594-CMA (S.D. Fla. June 8, 2017)
   (same). See also Under Armour, Inc. v. 51nfljersey.com, No. 13-62809-CIV, 2014 WL 1652044,

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          Defendants have created an Internet-based infringement scheme and are profiting from the
   deliberate misappropriation of ABS-CBN’s rights. Accordingly, the Court should eliminate the
   means by which Defendants conduct their unlawful activities by transferring the Subject Domain
   Names to ABS-CBN, where they may be disabled from further use as a platform for the illegal
   distribution of ABS-CBN’s Copyrighted Works under counterfeits of ABS-CBN’s trademarks.

                  2.      Damages as to Count I for Trademark Counterfeiting and
                          Infringement.10
          In a case involving the use of counterfeit marks in connection with a sale, offering for sale,
   or distribution of services, 15 U.S.C. § 1117(c) provides that a plaintiff may elect an award of
   statutory damages at any time before final judgment is rendered in the sum of not less than
   $1,000.00 nor more than $200,000.00 per counterfeit mark per type of good or service. 15 U.S.C. §
   1117(c)(1). In addition, if the Court finds that Defendants’ counterfeiting actions were willful, it
   may impose damages above the maximum limit up to $2,000,000.00 per mark per type of good or
   service. 15 U.S.C. § 1117(c)(2). Pursuant to 15 U.S.C. § 1117(c), ABS-CBN elects to recover an
   award of statutory damages as to Count I of the Complaint.
          The Court has wide discretion to set an amount of statutory damages. Petmed Express, Inc.,
   336 F. Supp. 2d at 1219 (citing Cable/Home Commc’n Corp. v. Network Prod., Inc., 902 F.2d 829,
   852 (11th Cir. 1990). An award of statutory damages is an appropriate remedy, despite a plaintiff’s
   inability to provide actual damages caused by a defendant’s infringement. Ford Motor Co. v. Cross,
   441 F. Supp. 2d 837, 852 (E.D. Mich. 2006) (“[A] successful plaintiff in a trademark infringement
   case is entitled to recover enhanced statutory damages even where its actual damages are nominal or
   non-existent.”). Congress enacted a statutory damages remedy in trademark counterfeiting cases
   because evidence of a defendant’s profits in such cases is almost impossible to ascertain. See, e.g., S.
   REP. NO. 104-177, pt. V(7) (1995) (discussing purposes of Lanham Act statutory damages.) See
   also Petmed Express, Inc., 336 F. Supp. 2d at 1220 (statutory damages are “especially appropriate in

   at *7 (S.D. Fla. Apr. 23, 2014) (same); Chanel, Inc. v. 7perfecthandbags.com, No. 12-22057-CIV,
   2014 WL 352197 (S.D. Fla. Jan. 31, 2014) (same); ABS-CBN Corporation v. Movieonline.io,
   Case No. 17-cv-61803-BB (S.D. Fla. Nov. 29, 2017, entered on docket Nov. 30, 2017) (same).
   10
      ABS-CBN’s Complaint also sets forth causes of action for false designation of origin pursuant
   to § 43(a) of the Lanham Act (15 U.S.C. § 1125(a)) (Count II), under Florida’s common law of
   unfair competition (Count IV), and under Florida’s common law of trademark infringement
   (Count V). As to these Counts, the allowed scope of monetary damages is encompassed in 15
   U.S.C. § 1117(c). Accordingly, judgment on these Counts should be limited to the amount
   awarded pursuant to Count I and entry of the requested equitable relief.


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   default judgment cases due to infringer nondisclosure”). This case is no exception.
          A defendant’s intent can be of probative value for establishing willfulness, triggering an
   enhanced statutory award. Petmed Express, Inc., 336 F. Supp. 2d at 1220. A defendant has acted
   willfully where “the infringer acted with actual knowledge or reckless disregard” to a plaintiff’s
   intellectual property rights. See Arista Records, Inc. v. Beker Enter., Inc., 298 F. Supp. 2d 1310,
   1312 (S.D. Fla. 2003). Willfulness may also be inferred from the defendant’s default. See Petmed
   Express, Inc., 336 F. Supp. 2d at 1217 (upon default, well plead allegations taken as true)). In either
   case, a defendant is deemed to have the requisite knowledge that its acts constitute an infringement.
          The ABS-CBN Marks are renowned worldwide as identifiers of high quality broadcast
   distribution services, and Defendants clearly wrongfully used those marks for the purpose of
   trading upon ABS-CBN’s goodwill. Indeed, in a case of clear-cut copying such as this, it is
   appropriate to infer that Defendants intended to cause confusion and benefit from ABS-CBN’s
   reputation, to ABS-CBN’s detriment. See Petmed Express, Inc., 336 F. Supp. 2d at 1220 (court
   infers intent to confuse consumers into believing affiliation from Defendant’s use of such a mark
   that was confusingly similar). Moreover, in this District, it has been held that when an alleged
   infringer adopts a mark “with the intent of obtaining benefit from the plaintiff’s business
   reputation, ‘this fact alone may be sufficient to justify the inference that there is confusing
   similarity.’” Turner Greenberg Assocs., 320 F. Supp. 2d 1317, 1333 (S.D. Fla. 2004) (citing
   Carnival Corp. v. Seaescape Casino Cruises, Inc., 74 F. Supp. 2d 1261, 1268 (S.D. Fla. 1999)).
          The evidence establishes Defendants intentionally copied the ABS-CBN Marks for the
   purpose of deriving the benefit of ABS-CBN’s world-famous reputation. Defendants defaulted on
   ABS-CBN’s allegations of willfulness. (Compl. ¶¶ 1, 5, 61, 109, 126.) See Arista Records, Inc.,
   298 F. Supp. 2d at 1313 (finding a Court may infer willfulness from the Defendant’s default.) As
   such, this Court should award a significant amount of statutory damages under the Lanham Act to
   ensure Defendants do not continue their intentional and willful counterfeiting activities.
          The evidence in this case demonstrates Defendants promoted, offered, advertised, at least one
   (1) type of service – content distribution services – using marks which were, in fact, infringements
   of, at least, one of the ABS-CBN Marks protected by two (2) Federal trademark registrations for such
   services. (Compl. ¶¶ 3-5, 36-45, 46-73, 78-79, 86-89, 94-95, 99-101, 104-108, 116-123; see
   generally Exs. 3, 4, and 5 to the Compl., Ex. 1 to the Daley Decl. re. App. for TRO, and Ex. 2 to the
   Daley Decl. re. Supp. Brief, relevant web captures of Defendants’ websites operating under their


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   Subject Domain Names, showing examples of their infringements of the ABS-CBN Marks.) Based
   on the above considerations, Plaintiffs respectfully suggest the Court could start with a baseline of
   the statutory award of $100,000.00, treble it to reflect Defendant’s willfulness, and then double the
   product for the purpose of deterrence. The result would be $600,000.00 per ABS-CBN Mark
   infringed (2) per type of services offered (1), for a total award amount of $1,200,000.00 in statutory
   damages for trademark infringement and counterfeiting.
           Plaintiffs’ requested damage amount is at the lower end of Plaintiffs’ requested damages for
   trademark infringement and the range prescribed under 15 U.S.C. § 1117(c)(2) 11 and should be
   sufficient to deter Defendant and others from continuing to counterfeit or otherwise infringe
   Plaintiffs’ trademarks, compensate Plaintiffs, and punish Defendant, all stated goals of 15 U.S.C. §
   1117(c). Joint Statement of Trademark Counterfeiting Legislation, H.R.J. Res. 648, 98th Cong., 2nd
   Sess., 130 Cong.Rec. H12076, H12083; Petmed Express, Inc., 336 F. Supp. 2d at 1222 (“statutory
   damages under § 1117(c) are intended not just for compensation for losses, but also to punish and
   deter wrongful conduct.”). Courts in this District has granted statutory damages under the Lanham
   Act in a manner similar to Plaintiffs’ request herein.12
                   3. Damages as to Count III for Cybersquatting Against Defendant
                      Number 1, abscbn-teleserye.com
           ABS-CBN’s Complaint further sets forth a cause of action for cybersquatting pursuant to
   the Anticybersquatting Consumer Protection Act (“ACPA”), 15 U.S.C. § 1125(d). As admitted
   by default, and established by the evidence submitted herewith, Defendant Number 1, abscbn-
   teleserye.com (“Defendant Number 1”) has acted with the bad faith intent to profit from the
   ABS-CBN Mark Number 2,334,131 and the goodwill associated therewith by registering its
   Subject Domain Name “abscbn-teleserye.com,” which is identical, confusingly similar to, or
   dilutive of ABS-CBN Mark Number 2,334,131. (Compl. ¶¶ 63-68, 100-105.) The abscbn-
   teleserye.com domain name incorporates the ABS-CBN Mark Number 2,334,131 in its entirety
   surrounded by the descriptive “teleserye” term, rendering the domain name nearly identical to
   11
      In its Complaint, ABS-CBN requested that “Plaintiffs be awarded statutory damages from
   each Defendant in the amount of two million dollars ($2,000,000.00) per each counterfeit
   trademark used, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.” (ECF No. [1] at p.
   34.) ABS-CBN’s requested damages are well below the damages prayed for in the Complaint.
   12
      See; ABS-CBN Corporation v. Pinoy-ako.info, Case No. 14-cv-61613-BB (S.D. Fla. Feb. 12,
   2015) (awarding $1,200,000.00 per trademark infringed (2) per type of services offered (1), for a
   total award amount of $2,400,000.00); ABS-CBN Corporation, et al., v. Phnoy.com, Case No. 14-
   cv-61710-JIC (S.D. Fla. Dec. 16, 2014) (awarding $1,200,000.00 per trademark infringed (4) per
   type of services offered (1), resulting in a total award of $4,800,000.00).


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   ABS-CBN Mark Number 2,334,131. Even minor variations to a plaintiff’s mark in a domain
   name can be confusingly similar. See Victoria’s Cyber Secret Ltd. P’ship v. V Secret Catalogue,
   Inc., 161 F. Supp. 2d 1339, 1351 (S.D. Fla. 2001) (“taking of an identical copy of another’s
   famous and distinctive trademark for use as a domain name creates a presumption of
   confusion.”); DaimlerChrysler v. The Net Inc., 388 F.3d 201, 205-06 (6th Cir. 2004) (“Courts
   generally have held that a domain name that incorporates a trademark is ‘confusingly similar to’
   that mark if ‘consumers might think that [the domain name] is used, approved, or permitted’ by
   the mark holder.”). Furthermore, it is indisputable that the ABS-CBN Mark Number 2,334,131 is
   famous and distinctive. ABS-CBN’s genuine services are among the best-selling entertainment
   services in the Filipino community, and the ABS-CBN Marks enjoy widespread recognition and
   are prominent in the minds of the consuming public. (See Lawrence Decl. ¶¶ 9-10.)
          As to the issue of bad faith, the ACPA lists nine factors in determining whether a domain
   name is used in “bad faith” with an intent to profit from a mark in registering or using the mark
   in a domain name. See 15 U.S.C. § 1125(d)(1)(B)(i); Taverna Opa Trademark Corp., 2010 WL
   1838384, at *2. These factors are not meant to be exclusive and the Court may consider the
   context of the matter in its determination of bad faith. See Victoria’s Cyber Secret Ltd. P’ship,
   161 F. Supp. 2d at 1347. Examining the bad faith factors compels the conclusion that Defendants’
   registration and use of the abscbn-teleserye.com domain name violates 15 U.S.C. § 1125(d).
          The first and third factors, § 1125(d)(1)(B)(I) and (III), are clearly present inasmuch as
   Defendant Number 1 has no rights in the ABS-CBN Marks, and Defendant Number 1 has never
   used the ABS-CBN Marks in connection with a bona fide offering of goods or services.
   Additionally, the fourth, fifth, and ninth factors, § 1125(d)(1)(B)(IV), (V) and (IX), weigh in
   ABS-CBN’s favor. As discussed above, Defendant Number 1 has clearly intentionally
   incorporated the ABS-CBN Mark Number 2,334,131 in its abscbn-teleserye.com domain name
   to divert consumers looking for ABS-CBN’s Internet website to its Internet website for
   commercial gain. Such consumers are likely to be confused as to the source and sponsorship of
   Defendant Number 1’s Internet website and mistakenly believe the website is endorsed by and/or
   affiliated with ABS-CBN. Clearly, Defendant Number 1’s registration of its abscbn-
   teleserye.com domain name, in order to promote and/or offer for sale infringing services and
   pirated content, knowing the domain name is identical or confusingly similar to ABS-CBN’s
   indisputably famous and distinctive mark ensures a likelihood of confusion among consumers.


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   See House Judiciary Committee Report on H.R. 3028, H.R. Rep. No. 106-412 p. 13 (October 25,
   1999) (“The more distinctive or famous a mark has become, the more likely the owner of that
   mark is deserving of the relief available under this act.”).
          Upon a finding of liability, the ACPA empowers the Court to “order the forfeiture or
   cancellation of the domain name or the transfer of the domain name to the owner of the mark.”
   15 U.S.C. § 1125(d)(1)(c); Victoria’s Cyber Secret Ltd. P’ship, 161 F. Supp. 2d at 1356.
   Accordingly, ABS-CBN is entitled to the transfer and ownership of the abscbn-teleserye.com
   domain name because it is confusingly similar to the ABS-CBN Mark Number 2,334,131. See id.
   at 663. Additionally, ABS-CBN may elect at any time before final judgment to recover actual
   damages or statutory damages of not less than $1,000.00 and not more than $100,000.00 per
   domain name, as the court considers just. 15 U.S.C. § 1117(d). ABS-CBN elects statutory
   damages and submits that in view of Defendant Number 1’s intentional, wrongful behavior, an
   award in the amount of $10,000.00 it would be just. See Taverna Opa Trademark Corp., 2010
   WL 1838384, at *3 (awarding $10,000.00 in statutory damages for the infringing domain name
   at issue); Tiffany (NJ) LLC v. tiffanyloveyou.com, Case No. 17-cv-60594-CMA (S.D. Fla. June
   8, 2017) (awarding $10,000.00 in statutory damages for each infringing domain name at issue).
                  4. Plaintiffs’ Damages Against Defendant Number 3, cinepinoy.lol,
                     Defendant Number 4, cinezen.me, and Defendant Number 14,
                     pinastvreplay.com as to Count VI for Direct Infringement of
                     Copyright.
          ABS-CBN’s Complaint sets forth a cause of action for direct infringement of copyright
   under 17 U.S.C. § 504 and requests statutory damages thereunder. Defendants have defaulted on
   the well-pled allegations of Count IV. As Defendants failed to respond to Plaintiffs’ copyright
   infringement claim and participate in discovery, Plaintiffs cannot demonstrate Defendants’ actual
   revenue. Accordingly, Plaintiffs elect to be awarded statutory damages within the provisions of
   Section 504(c) of the Copyright Act, 17 U.S.C. § 504(c) to reflect the willful nature of the
   Defendants’ infringement, instead of an award of actual damages or profits.
          Title 17 U.S.C. § 504(c) concerning statutory damages provides that a copyright owner
   may elect an award of statutory damages at any time before final judgment is rendered, “to
   recover, instead of actual damages and profits, an award of statutory damages for all
   infringements involved in the action, with respect to any one work, for which any one infringer is
   liable individually, or for which any two or more infringers are liable jointly and severally, in a



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   sum of not less than $750 or more than $30,000 as the court considers just.” 17 U.S.C. §
   504(c)(1). In addition, if the Court finds that Defendants’ copyright infringement was willful, “the
   court in its discretion may increase the award of statutory damages to a sum of not more than
   $150,000.” 17 U.S.C. § 504(c)(2). Pursuant to 17 U.S.C. § 504(c), Plaintiffs seek to recover an
   award of statutory damages as to Count IV of the Complaint.
           The Court has wide discretion to set an amount of statutory damages. Tiffany (NJ), LLC v.
   Liu Dongping, 2010 U.S. Dist. LEXIS 121232, Case No. 10-61214-CIV-SEITZ (S.D. Fla. Oct. 29,
   2010). Indeed, an award of statutory damages is appropriate, because statutory damages may be
   elected whether or not there is adequate evidence of the actual damages suffered by plaintiff or of the
   profits reaped by the Defendants. Harris v. Emus Records Corp., 734 F.2d 1329, 1335 (9th Cir.
   1984). “A rule of liability which merely takes away the profits from an infringement would offer
   little discouragement to infringers. It would fall short of an effective sanction for enforcement of the
   copyright policy. The statutory rule, formulated after long experience, not merely compels restitution
   of profit and reparation for injury but also is designed to discourage wrongful conduct. The discretion
   of the court is wide enough to permit a resort to statutory damages for such purposes.” F. W.
   Woolworth Co. v. Contemporary Arts, Inc., 344 U.S. 228, 233 (1952).
           A defendant’s intent can be of probative value for establishing willfulness, triggering an
   enhanced statutory award. Cable/Home Comm'n Corp. v. Network Prods, Inc., 902 F.2d 829, 851
   (11th Cir. 1990). A defendant is deemed to have acted willfully where “the infringer acted with
   actual knowledge or reckless disregard” to a plaintiff’s intellectual property rights. See Arista
   Records, Inc. v. Beker Enter., Inc., 298 F. Supp. 2d 1310, 1312 (S.D. Fla. 2003). Willfulness may
   also be inferred from the defendant’s default. See Petmed Express, Inc., 336 F. Supp. 2d at 1217
   (upon default, well plead allegations taken as true)). In either case, a defendant is deemed to have
   the requisite knowledge that its acts constitute an infringement.
           Plaintiffs are renowned producers of quality audiovisual entertainment content. The evidence
   establishes Defendants willfully infringed Plaintiffs’ copyrighted programming in order to attract
   visitors to their websites, so that they may in turn profit from these visitors’ page views in the form of
   advertising revenue. In any event, Defendants have defaulted on Plaintiffs’ allegations of willfulness.
   (Compl. ¶ 1, 5, 61, 109, 126; Ex. 4 to the Complaint, ECF No. [1-5] at pp. 11-21; 66-67.) See Arista
   Records, Inc., 298 F. Supp. 2d at 1313 (finding a Court may infer willfulness from the defendants’
   default.) As such, this Court should award a significant amount of statutory damages under the


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   Copyright Act to ensure Defendants will not continue their willful infringing activities.
           ABS-CBN requests the Court award them $30,000.00 per infringed registered work per
   Defendant, as outlined in Schedule “C” hereto. The requested amount is the highest for non-
   willful infringement, despite Defendants’ default on allegations of willfulness, and this amount
   per work infringed has been previously awarded by Courts in this district.13
              a. Recovery of Statutory Damages Under Both the Lanham Act and the
                 Copyright Act is Appropriate
           Recovering under both the Lanham Act and the Copyright Act is appropriate in the instant
   case. Defendants herein willfully committed two wrongs, copyright infringement and trademark
   infringement, and ABS-CBN has proven violations of both statutes. “A plaintiff is entitled to a
   separate award of statutory damages under both the Copyright Act and the Lanham Act when the
   defendant simultaneously infringes a copyright and trademark.” Microsoft Corp. v. Online
   Datalink Computer, Inc. 2008 WL 1995209 *3 (S.D. Cal. 2008) (citing Nintendo of America, Inc.
   v. Dragon Pacific Int’l, 40 F.3d 1007, 1011 (9th Cir. 1994)). See also, Microsoft Corp. v. Nop,
   549 F. Supp .2d 1233, 1238 -1239 (E.D. Cal. 2008) (“plaintiff may be awarded statutory
   damages under both the Copyright Act and the Lanham Act where the defendant's act
   simultaneously infringed the plaintiff's copyright and its trademark.”); Microsoft Corp. v. McGee,
   490 F. Supp. 2d 874, 881 -882 (S.D. Ohio 2007) (“successful plaintiff is entitled to recover a
   separate award of statutory damages under both the Copyright Act and the Lanham Act when a
   defendant has infringed both its trademarks and copyrights, even when by a single act.”);
   Microsoft Corp. v. Black Cat Computer Wholesale, Inc., 269 F. Supp. 2d 118, 123-24 (W.D.N.Y.
   2002) (a successful plaintiff in a combined copyright and trademark infringement action is
   entitled to separate awards of statutory damages under both the Copyright Act and the Lanham
   Act when a defendant has infringed both the owner's trademarks and copyrights.”); Microsoft
   Corp. v. Tierra Computer, Inc., 184 F. Supp. 2d 1329, 1331 (N.D. Ga. 2001) (“This Court holds
   that the Plaintiff’s request for statutory damages under both acts is not an impermissible double
   recovery.”); Microsoft Corp. v. Compusource Distributors, Inc., 115 F. Supp. 2d 800, 811 (E.D.
   Mich. 2000) (“In so far as the Lanham Act and Copyright Act provide separate remedies for
   distinct injuries, Microsoft may seek damages under each Act.”).

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     See ABS-CBN Corporation v. Movieonline.io, Case No. 17-cv-61803-BB (S.D. Fla. Nov. 29,
   2017, entered on docket Nov. 30, 2017); ABS-CBN Corporation v. Pinoy-ako.info, Case No. 14-
   cv-61613-BB (S.D. Fla. Feb. 12, 2015); ABS-CBN Corporation v. Cinesilip.net, Case No. 17-cv-
   60650-RNS (S.D. Fla. Jul. 10, 2017, entered on docket Jul. 11, 2017).


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          The issue of whether an award of statutory damages under both the Lanham and
   Copyright Acts is a double recovery was addressed in Microsoft Corp. v. Tierra Computer, Inc.,
   184 F. Supp. 2d 1329, 1331 (N.D. Ga. 2001); Microsoft sought statutory damages under both the
   Lanham Act and the Copyright Act alleging the Defendants continued selling counterfeit
   software and infringing trademarks in violation of a stipulated permanent injunction. The Court
   held that “the Plaintiff's request for statutory damages under both acts is not an impermissible
   double recovery” Relying on the Ninth Circuit’s decision in Nintendo of America, Inc. v. Dragon
   Pacific Int'l, 40 F.3d 1007, 1011 (9th Cir.1994), the Court stated “Defendants did not commit
   only one wrongful act. Had Defendants sold Plaintiff's computer programs without representing
   that they were Microsoft products, Defendants would have committed only copyright
   infringement. If Defendants have represented that the computer programs were Microsoft's,
   when in fact they were not, then Defendants violated the Lanham Act. While there was one act,
   there were two wrongs.” Microsoft Corp. v. Tierra Computer, Inc., 184 F. Supp. 2d at 1331.
          The facts and circumstances of the instant case mirror those in Tierra Computer.
   Defendants held themselves out as authorized distributors for Plaintiffs’ content by using the
   ABS-CBN Marks to promote and advertise the pirated content. “Insofar as the Lanham Act and
   Copyright Act provide separate remedies for distinct injuries, [Plaintiff] may seek damages
   under each act.” Id. (citing Compusource Distributors, 115 F. Supp. 2d at 811. See also Nintendo
   of America, Inc. v. Dragon Pacific Int’l, 40 F.3d 1007, 1011 (9th Cir. 1994) aff’d, 51 F.3d 281
   (9th Cir.1995) (a defendant commits “two wrongs” when his actions violate both the Copyright
   Act and the Lanham Act; to “effectuate the purposes of both statutes, damages may be awarded
   under both”)). Microsoft Corp. v. Nop, 549 F. Supp. 2d 1233, 1238 -1239 (E.D. Cal. 2008) citing
   Nintendo of America, Inc. v. Dragon Pacific Int’l, 40 F.3d 1007, 1011 (9th Cir.1994). See also,
   Do It Best Corp. v. Passport Software, Inc., 2004 WL 1660814, 16 (N.D. Ill. 2004) (“The
   Copyright Act does not preempt the Lanham Act, or vice versa, and therefore a party may
   recover under both statutes.”) Not only had the Defendants infringed on ABS-CBNs’s copyrights,
   but the Defendants have also negatively impacted and confused consumers’ view of ABS-CBN’s
   distribution services by using their trademarks for subpar distribution services.
           “Trademark and copyright injuries are quite distinct.” Sparaco v. Lawler, Matusky,
   Skelly Engineers, LLP, 313 F.Supp.2d 247, 255 (S.D. N.Y. 2004). The Copyright Act prohibits
   copying of a protected work solely for the benefit of the right holder. “The Lanham Act prohibits


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   someone from trading on the good name and reputation that another has built in a recognizable
   symbol” for the benefit of both the right holder and the consuming public. Sparaco v. Lawler,
   Matusky, Skelly Engineers, LLP, 313 F. Supp. 2d 247, 255 (S.D.N.Y. 2004). Statutory damages
   for trademark infringement and copyright infringement are intended to be both compensatory
   and punitive. See Senate Section-by-Section Analysis, Cong Rec. S12084 (Aug. 9, 1995),
   reprinted in 50 PTCJ 425 (Aug. 17, 1995) (“The option to select statutory damages in counterfeit
   cases ensures that trademark owners are adequately compensated and that counterfeiters are
   justly punished.”); Louis Vuitton Malletier and Oakley, Inc. v. Veit, 211 F. Supp. 2d 567, 583-84
   (E.D. Pa. 2002). Thus, an award of statutory damages under the Lanham Act and the Copyright
   Act is similar to separate awards of punitive damages. “Such awards are not duplicative per se.”
   Mason v. Oklahoma Turnpike Authority, 115 F.3d 1442, 1460 (10th Cir. 1997).
          Statutory damages also serve non-compensatory purposes, as the Defendants committed
   two separate acts, and caused two distinct injuries, an award of separate statutory damages for
   trademark and copyright infringement would be suitable.14 It is both fair and appropriate to enter
   an award of statutory damages under both the Lanham Act and the Copyright Act. This Court
   and others in this district have previously entered such a judgment entering an award of statutory
   damages under both the Lanham Act and the Copyright Act. See ABS-CBN Corporation v.
   Movieonline.io, Case No. 17-cv-61803-BB (S.D. Fla. Nov. 29, 2017, entered on docket Nov. 30,
   2017); ABS-CBN Corporation v. Pinoy-ako.info, Case No. 14-cv-61613-BB (S.D. Fla. Feb. 12,
   2015); ABS-CBN Corporation v. Cinesilip.net, Case No. 17-cv-60650-RNS (same) (S.D. Fla.
   Jul. 10, 2017, entered on docket Jul. 11, 2017); ABS-CBN Corporation v. Dramacool.com, Case
   No. 15-cv-62651-JIC (S.D. Fla. June 9, 2016); ABS-CBN Corporation v. Hapitvnow.info, Case
   No. 15-cv-61660-KMW (S.D. Fla. Jan. 27, 2016); Gaffigan v. Does 1-10, Case No. 09-cv-
   61206-JAL, (S.D. Fla. Sept. 17, 2010).
   IV.    CONCLUSION
          For the foregoing reasons, Plaintiffs, ABS-CBN Corporation, ABS-CBN Film
   Productions, Inc. d/b/a Star Cinema, and ABS-CBN International, respectfully request the Court
   enter final default judgment and a permanent injunction against Defendants in the form of the
   proposed Final Default Judgment and Permanent Injunction filed herewith.

   14
     See Lifted Research Grp., Inc. v. Behdad, Inc., Case No. 1:08-cv-0390-CKK (D.D.C Jun. 30,
   2010)


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   Dated: December 21, 2017           Respectfully submitted,
                                      STEPHEN M. GAFFIGAN, P.A.

                                      By: s:/Christine Ann Daley/_______
                                      Stephen M. Gaffigan (Fla. Bar No. 025844)
                                      Virgilio Gigante (Fla. Bar No. 082635)
                                      Christine Ann Daley (Fla. Bar. No. 98482)
                                      T. Raquel Wiborg-Rodriguez (Fla. Bar No. 103372)
                                      401 East Las Olas Blvd., Suite 130-453
                                      Ft. Lauderdale, Florida 33301
                                      Telephone: (954) 767-4819
                                      Facsimile: (954) 767-4821
                                      E-mail: Stephen@smgpa.net
                                      E-mail: Leo@smgpa.net
                                      E-mail: Christine@smgpa.net
                                      E-mail: Raquel@smgpa.net

                                      Attorneys for Plaintiffs




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                              SCHEDULE “A”
              DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                           Def. No.   Subject Domain Name
                                  1 abscbn-teleserye.com
                                  2 astigvideos.com
                                  3 cinepinoy.lol
                                  3 cinepinoy.ag
                                  3 pinoyflix.ag
                                  3 pinoyflix.lol
                                  4 cinezen.me
                                  5 dramascools.com
                                  6 dramasget.com
                                  8 frugalpinoytv.org
                                  9 lambingan.cn
                                10 pinoylambingan.ph
                                10 lambingan.io
                                11 lambingans.net
                                12 latestpinoymovies.com
                                13 pinasnews.net
                                14 pinastvreplay.com
                                15 pinoybay.ch
                                16 pinoychannel.me
                                17 pinoydailyshows.com
                                18 pinoyplayback.net
                                19 pinoytvshows.net
                                19 pinoytv-shows.net
                                20 rondownload.net
                                21 sarapmanood.com
                                22 tambayanshow.net
                                23 thelambingan.com
                                24 tvnijuan.org
                                25 tvtambayan.org
                                26 vianowpe.com
                                27 weeklywarning.org
                                27 weeklywarning.com




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                             SCHEDULE “B”
    DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
             INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES

      Def.   Subject Domain         Advertising          Account         Associated E-mail
      No.        Name             Service/Platform      Identifier          Address(es)
                                                       ca-pub-
                                 Google AdSense        8363670849    06zqahjcbmzc@contactpriv
        1 abscbn-teleserye.com   Google, Inc.          262616        acy.email
                                                       ca-pub-
                                 Google AdSense        8363670849    nnfnbbvqo6vh@contactpriv
        2 astigvideos.com        Google, Inc.          262616        acy.email



        3 cinepinoy.lol          N/A                   N/A           contact@privacyprotect.org


                                                                     contact@domainprivacypro
        3 cinepinoy.ag           N/A                   N/A           tect.info



        3 pinoyflix.ag           N/A                   N/A           contact@privacyprotect.org
                                                                     4a3ad9e50259ad26820080a
                                                                     38af7651a-
        3 pinoyflix.lol          N/A                   N/A           2628172@contact.gandi.net
                                 adskeeper.co.uk,                    4a3ad9e50259ad26820080a
                                 Hardware Solution     cinezen.me.   38af7651a-
        4 cinezen.me             Limited               122875        2628172@contact.gandi.net
                                                                     4a3ad9e50259ad26820080a
                                 popads.net,                         38af7651a-
        4 cinezen.me             Tomksoft S.A.         N/A           2628172@contact.gandi.net
                                                       ca-pub-
                                 Google AdSense        2367658883    payments@pakihosting.co
        5 dramascools.com        Google, Inc.          843972        m
                                 revcontent.com,                     dramasget.com@domainsb
        6 dramasget.com          Revcontent, LLC       N/A           yproxy.com

                                                       var pmauid
                                                       = '32157';
                                 popads.net,           var pmawid    thefrugalpinoytv@gmail.co
        8 frugalpinoytv.org      Tomksoft S.A.         = '30857';    m
                                 h12-media.com,
        9 lambingan.cn           H12 UK LTD            N/A           admin@nicenic.net



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      Def.   Subject Domain         Advertising            Account           Associated E-mail
      No.        Name             Service/Platform        Identifier            Address(es)
                                 adskeeper.co.uk,
                                 Hardware Solution       lambingan.i
       10 lambingan.io           Limited                 o.123723      N/A
                                 popads.net,
       10 lambingan.io           Tomksoft S.A.           N/A           N/A
                                 Redirects to
       10 pinoylambingan.ph      lambingan.io            N/A           dol...@...
                                                         ca-pub-
                                 Google AdSense          1865856426
       11 lambingans.net         Google, Inc.            290995        usaking73@gmail.com
                                                         ca-pub-       86bc3894580e4338b4ef958
          latestpinoymovies.co   Google AdSense          6712270727    efee7669a.protect@whoisg
       12 m                      Google, Inc.            944137        uard.com
                                 popads.net,
       13 pinasnews.net          Tomksoft S.A.           N/A           contact@privacyprotect.org
                                 popads.net,
       14 pinastvreplay.com      Tomksoft S.A.           N/A           contact@privacyprotect.org

       15 pinoybay.ch            N/A                     N/A           N/A
                                 revcontent.com,
       16 pinoychannel.me        Revcontent, LLC         N/A           sakhani@live.com
                                                         ca-pub-
                                 Google AdSense          6409372530    rajaraveendrareddy.peram
       17 pinoydailyshows.com    Google, Inc.            626142        @gmail.com
                                                         ca-pub-
                                 Google AdSense          1714538266
       18 pinoyplayback.net      Google, Inc.            441049        contact@privacyprotect.org
                                 Redirects to
       19 pinoytvshows.net       pinoytv-shows.net       N/A           fahimtaunsvi@gmail.com
                                                         ca-pub-
                                 Google AdSense          1677375562
       19 pinoytv-shows.net      Google, Inc.            727935        herpalasif@gmail.com
                                                         pid=413907    D6A727F1133F4661B96C
                                 bidvertiser.com,        &bid=15000    B83A5B2C9F20.PROTEC
       20 rondownload.net        Bpath, LTD.             12            T@WHOISGUARD.COM
                                                         ca-pub-       e14fcd7e4f2543eaac7ebeba
                                 Google AdSense          3102114826    f643d10e.protect@whoisgu
       21 sarapmanood.com        Google, Inc.            829472        ard.com



                                                    24
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      Def.   Subject Domain      Advertising         Account         Associated E-mail
      No.        Name          Service/Platform     Identifier          Address(es)
                              adnow.com,
       22 tambayanshow.net    Adnow LLP            340913        contact@privacyprotect.org
                              popads.net,
       22 tambayanshow.net    Tomksoft S.A.        N/A           contact@privacyprotect.org
                              mgid.com,
                              MGID Inc.
       23 thelambingan.com    MGID UA              N/A           apnapakforum@gmail.com
                              mgid.com,
                              MGID Inc.
       24 tvnijuan.org        MGID UA              N/A           fastchannels@gmail.com
                              mgid.com,
                              MGID Inc.                          tvtambayan.org@domainsb
       25 tvtambayan.org      MGID UA              N/A           yproxy.com
                                                   ca-pub-
                              Google AdSense       7075767950
       26 vianowpe.com        Google, Inc.         562858        johnweston772@gmail.com
                              Redirects to
       27 weeklywarning.org   weeklywarning.com    N/A           shankarr1555@gmail.com
                              popads.net,                        ultimategangster1993@gm
       27 weeklywarning.com   Tomksoft S.A.        N/A           ail.com




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                                     SCHEDULE C
                             COPYRIGHT DAMAGES REQUESTED

                                                                          Total
    Def.        Subject Domain                                          Damages
    No.             Name                       Works Infringed          Requested
                                 Dukot,
                                 ECF No. [1-5] at pp. 11-15;
           3 cinepinoy.lol       PA 1-997-530, ECF No. [1-3] at p. 4.    $30,000.00
                                 Beauty and the Bestie
                                 ECF No. [1-5] at pp. 16-21;
           4 cinezen.me          PA 1-997-536, ECF No. [1-3] at p. 3.    $30,000.00
                                 The Achy Breaky Hearts,
                                 ECF No. [1-5] at pp. 64-67;
       14 pinastvreplay.com      PA 1-997-529, ECF No. [1-3] at p. 2.    $30,000.00




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on December 21, 2017, I electronically filed the foregoing
   document with the Clerk of Court using CM/ECF. I also certify that a true copy of the foregoing
   was served this 21st day of December, 2017, upon the Defendants by via electronic mail and via
   publication by publishing a true and accurate copy of the following document(s) on Plaintiffs’
   serving notice website, http://servingnotice.com/BW4G44W/index.html.


                                              By: ___ s:/Christine Ann Daley/_____________
                                                      Christine Ann Daley




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